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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: . Chapter 11

INDALEX HOLDINGS FINANCE, INC., Case No. 09-10982 (PTW)
a Delaware Corporation, ef al I
Jointly Administered
Debtors

Ref. Docket No. 502

 

ORDER EXTENDING THE DEBTORS’ EXCLUSIVE PERIODS TO FILE A
CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THERETO
PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE

Upon the motion (the “Motion”) of the debtors and debtors in possession in the

 

above-captioned cases (collectively, the “Debtors”) for entry of an order, pursuant to section

 

1121(d) of title 11 of the United States Code (the “Bankruptcy Code”), Rule 9006 the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 9006-2 of the Local Rules of
Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware (the “Local Rules”), extending the Debtors’ exclusive periods to file a chapter 1] plan
or plans and to solicit acceptances of such plan(s); and it appearing that no other or further notice
need be provided; and it appearing that the relief requested in the Motion is in the best interests
of the Debtors and their respective estates and creditors; and after due deliberation and sufficient
cause appearing therefor, it is hereby

ORDERED, ADJUDGED, AND DECREED that:

1, The Motion is granted.

 

, The Debtors in these cases and their tax identification numbers are: Indalex Holdings Finance, Inc. XX-

XXX0880), Indalex Holding Corp. (&X-XXX0715) (“Indalex Holding”), Indalex Inc. (XX-XXX7362) (“Indalex
Inc,”), Caradon Lebanon, Inc. (XX-XXX1208) (“Caradon”), and Dolton Aluminum Company, Inc. (XX-XXX2781)
(“Dolton”). The business address for all of the Debtors is 75 Tri-State International, Suite 450, Lincolnshire, IL
60069.

 

 

2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in

the Motion.

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© 2. The Debtors’ Exclusive Filing Period shall be extended by 90 days
through and including October 16, 2009.
3. The Debtors’ Exclusive Solicitation Period shall be extended by 90 days
through and including December 15, 2009.
4, The entry of this Order shall be without prejudice to the rights of any

party-in-interest to subsequently move for entry of an order from this Court shortening or

 

otherwise terminating the Exclusive Periods.
5. The entry of this .Order shall be without prejudice to the rights of the
Debtors to request further extensions of the Exclusive Periods or to seek other appropriate relief.
6. This Court shall retain jurisdiction with respect to all matters arising from
or related to the implementation or interpretation of this Order.
Dated: August Delaware

PETER J. WALSH
UNITED STATES BANKRUPTCY JUDGE

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